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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA


v.                                    CRIMINAL ACTION NO. 2:05-00107-01


GEORGE LECCO


                        MEMORANDUM OPINION AND ORDER


            Pending are defendant’s motion for production of

Patricia Burton’s presentence report, filed April 2, 2010, and

the United States’ motion in limine regarding exclusion of expert

testimony, filed March 25, 2010.


            On December 12, 2006, the court directed that portions

of Ms. Burton’s presentence report, namely, paragraphs 6 through

32, 55 and 56, and 63 through 65, be provided to defendant by the

United States Probation Office, with certain conditions attached.

Counsel for defendant advised in open court on April 5, 2010,

that this prior disclosure was satisfactory.             The court,

accordingly, ORDERS that the motion for production of Ms.

Burton’s presentence report be, and it hereby is, denied as moot.

It is expected that counsel will comply with the conditions

attached to the disclosure by the December 12, 2006, order.
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                                     I.



            Regarding the motion in limine, the United States seeks

to exclude the testimony of defendant’s proposed expert witnesses

Larry B. Smith and Kenneth Mikionis.          Smith and Mikionis are

former Federal Bureau of Investigation (“FBI”) special agents

whom defendant plans to offer as experts on internal FBI

guidelines.


            In a January 29, 2007, memorandum opinion and order

(“2007 decision”), the court addressed a defense motion in limine

seeking to preclude any reference to the victim in this case as a

confidential informant, federal cooperating source, cooperating

witness, or any other reference to her acting under federal

authority.    The defense contended, inter alia, that certain

actions by law enforcement in handling the victim during her work

as an informant were insufficient to confer “federal status” upon

her according to the FBI Manual of Investigative Operations and

Guidelines (“MIOG”) and the Attorney General’s Guidelines

Regarding the Use of Confidential Informants (“Guidelines”).


            The United States responded, in part, that (1) the

Guidelines expressly preclude third parties from relying upon

them as creating any independent rights; (2) it was not mandatory



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to apply the Guidelines to the victim; (3) compliance with the

Guidelines is irrelevant; (4) binding precedent provides, as a

general matter, that internal, Department of Justice protocols,

like the MIOG and the Guidelines, vest no rights in those accused

of criminal misconduct.


            After noting the decision in United States v. Caceres,

440 U.S. 741, 755-56 (1979), the 2007 decision observed as

follows:

      The observation in Caceres has led either directly or
      indirectly to the suggestion by numerous courts of
      appeal, including our own, that internal agency
      guidelines offer no assistance to an accused
      complaining of their violation in the investigation or
      prosecution of his or her case. See, e.g., [United
      States v.] Jackson, 327 F.3d [273,] . . . 295 (4th Cir.
      2003) (“That the Department of Justice has developed an
      internal protocol for exercising discretion and
      channeling prosecutorial resources does not provide
      license for courts to police compliance with that
      protocol, and it is well established that the Petite
      policy and other internal prosecutorial protocols do
      not vest defendants with any personal rights.”)

(Memo. Op. at 7).


            The court observed as well the views of certain

commentators on the point:

      “Prosecutors . . . do not always adhere to these
      guidelines. The accused has no judicial recourse when
      prosecutors fail to abide by these guidelines, as
      courts routinely find these guidelines strictly
      internal and unenforceable at law. Thus, when it comes
      to DOJ guidelines, a failure to follow office procedure
      is an error that cannot be used by the accused who


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      might suffer as a result of this violation.”

(Id. at 7-8) (quoting Ellen S. Podgor, Department of Justice

Guidelines: Balancing "Discretionary Justice", 13 Cornell J. L. &

Pub. Pol'y 167, 169 (2004) (emphasis supplied); see also 1 Wayne

R. LaFave et al., Criminal Procedure § 1.6 (2d ed. 2006) (“In

general . . . the message to the federal courts [after Caceres]

is that the basic judicial remedy, upon learning of a deviation

from the agency's regulations, is to call it to the attention of

that unit of the agency responsible for applying internal

discipline.”).       In view of this “rather one-sided state of the

law,” the court, in the 2007 decision, denied defendants’ motion

in limine.    (Id. at 8).


            In its motion in limine presently under consideration,

the United States relies upon the 2007 decision and further

asserts the proposed expert evidence is irrelevant under Rules

402 and 702 inasmuch as overwhelming authority establishes that

internal agency guidelines do not redound to an accused’s

benefit.    The United States additionally asserts that the

Huntington Violent Crimes/Drug Task Force (the “Task Force”) was

not subject to the FBI guidelines upon which defendant seeks to

offer expert testimony1, and, assuming the Task Force was subject


      1
      The United States asserts in particular on this point as
follows:

                                                               (continued...)

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to FBI guidelines, their violation would be irrelevant to any

element of the charged offenses and would not establish a

defense.    Moreover, the United States asserts, the proposed

expert evidence transgresses Rule 403.


            In response, defendant attempts to distinguish the

expert evidence now proffered from the situation presented in

2007:

      [Defendant] . . . does not seek to introduce such
      testimony to shield him from prosecution or to bar the
      government from asserting that Ms. Collins was an
      informant, confidential or otherwise, or that she was a
      potential government witness. Rather, he seeks to


        1
       (...continued)
      Undersigned counsel has conferred with FBI Special
      Agents Joseph Ciccarelli and Matthew Hoke, who at the
      relevant time were, respectively, the Supervisory
      Senior Resident Agent for the Southern District of West
      Virginia and the Special Agent Coordinator of the Task
      Force, regarding the protocols that the Task Force
      used. Both Special Agent Ciccarelli and Special Agent
      Hoke state that the Task Force did not use the FBI’s
      guidelines for handling informants. Although the FBI
      coordinated the Task Force, and although the local
      officers serving on it were deputized as Special
      Federal Officers, the Task Force was not an FBI
      sub-unit.

(Govt. Mot. at 5). The United States concedes that a Memorandum
of Understanding (“MOU”) for the Task Force stated that FBI
guidelines would apply to informant handling but “the FBI
officials directing the Task Force overrode that provision . . .
. [and ] used an informally developed set of in-house procedures
. . . .” (Id. at 6) (“They were not given the FBI’s informant
guidelines, they received no instruction on them, and they were
authorized to employ procedures that did not conform to them.”).

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      introduce this evidence to demonstrate the sloppiness
      of the investigation in this case, and its bad faith in
      pursuing Mr. Lecco, all of which is plainly admissible
      under Kyles v. Whitley, 115 S. Ct. 1555 (1995). Also,
      the testimony could provide the basis for a defense
      argument that the Task Force had decided, prior to the
      murder of Carla Collins, that she had been discarded as
      an informant and could not serve as a witness.

(Resp. at 2); id. at 3 (“Her standing as an informant and her

reliability as such, and the Task Force's treatment of her may

well suggest that she had been too compromised to serve as a

witness for the government”).        Defendant additionally asserts

that the MOU signed by each Task Force agent reflected their

agreement to abide by FBI protocols, with any modifications

required in writing.2      Defendant further counters that the

proffered expert evidence does not contravene Rule 403.




      2
      On this point, defendant asserts, in part, as follows
concerning relevance:

      [I]f the Guidelines said that an agent must memorialize
      every contact with an informant, but the Task Force
      decided not to do so as part of this investigation,
      that would provide relevant information for the jury to
      consider in determining the credibility of the . . .
      [Task Force] agents, and the reasonableness of the
      actions they took.

(Resp. at 2). He notes as well that the United States has not
identified any authority for the Task Force to unilaterally cease
using the Guidelines or, presumably, related directions.
Regarding the United States contention that the agents did just
that, defendant asserts this shows “that the investigation was
marred by recklessness and/or dishonesty.” (Resp. at 3).

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            As noted, the proposed expert evidence is apparently

designed (1) to demonstrate the sloppiness of the investigation

and its bad faith in pursuing Mr. Lecco, and (2) to facilitate a

defense argument that the Task Force had decided, prior to the

victim's murder, to discard her as an informant and not use her

as a witness.        Regarding the first contention, it is unclear what

specific portion of Kyles is relied upon by defendant in support.

It would appear, however, that he grounds the argument in the

following observation from the majority opinion:

      [T]he defense could have examined the police to good
      effect on their knowledge of Beanie's statements and so
      have attacked the reliability of the investigation in
      failing even to consider Beanie's possible guilt and in
      tolerating (if not countenancing) serious possibilities
      that incriminating evidence had been planted. See,
      e.g., Bowen v. Maynard, 799 F.2d 593, 613 (CA10 1986)
      (“A common trial tactic of defense lawyers is to
      discredit the caliber of the investigation or the
      decision to charge the defendant, and we may consider
      such use in assessing a possible Brady violation”);
      Lindsey v. King, 769 F.2d 1034, 1042 (CA5 1985)
      (awarding new trial of prisoner convicted in Louisiana
      state court because withheld Brady evidence “carried
      within it the potential ... for the ... discrediting
      ... of the police methods employed in assembling the
      case”).

           The dissent . . . suggests that for jurors to
      count the sloppiness of the investigation against the
      probative force of the State's evidence would have been
      irrational, but of course it would have been no such
      thing. When, for example, the probative force of
      evidence depends on the circumstances in which it was
      obtained and those circumstances raise a possibility of
      fraud, indications of conscientious police work will
      enhance probative force and slovenly work will diminish
      it.

Kyles, 514 U.S. at 446 and n. 15 (emphasis added).

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            It may be the case that defendant might, through other

means and sources, develop a defense along the lines sanctioned

by Kyles.    It is clear, however, as it was in 2007, that the

Guidelines, the MOU, and similar materials may not be used for

that or any related purpose.         As noted by our court of appeals in

Jackson, the law “does not provide license for courts to police

compliance with” internal agency protocols.            Defendant’s approach

would essentially shift this prohibited policing function from

the court to the jury.      Doing so works the same harm identified

by Caceres.     Id. at 755 (“In the long run, it is far better to

have rules like those contained in the IRS Manual, and to

tolerate occasional erroneous administration of the kind

displayed by this record, than either to have no rules except

those mandated by statute, or to have them framed in a mere

precatory form.”).


            In sum, neither of defendant’s arguments are sufficient

to displace the rule, previously discussed in the 2007 decision,

that a third party may not exploit an agency’s internal

guidelines for his own legal advantage.           The court, accordingly,

ORDERS that the      motion in limine regarding exclusion of expert

testimony be, and it hereby is, granted.3




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      In view of this disposition, the court need not address the
United States’ remaining contentions concerning the infirmities
in the proposed expert evidence.

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            The Clerk is directed to forward copies of this written

opinion and order to the defendant and all counsel of record.

                                          DATED:      April 14, 2010


                                          John T. Copenhaver, Jr.
                                          United States District Judge




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